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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                               BILLINGS DIVISION


  UNITED STATES OF AMERICA,
                                                   CR 23-34-BLG-SPW
                       Plaintiff,

  vs.                                               ORDER


  JUSTIN HEIGIS WINDECKER,

                       Defendant.


        Before the Court is Defendant Justin Heigis Windecker's Motion to

Suppress. (Doc. 18). Windecker seeks to suppress all evidence seized from his

truck on the grounds that law enforcement lacked reasonable suspicion to pull him

over and to extend stop beyond its mission. (Doc. 19). Windecker also argues that

the search warrant for his truck was deficient because it was not supported by

probable cause. (Jd.). The United States opposes the motion. (Doc. 24).

        Neither party requested a hearing. An evidentiary hearing on a motion to

suppress is required if the Court concludes from the moving papers that material

contested issues offact exist. United States v. Walczak, 783 F.2d 852,857(9th Cir.

1986).

        The Court finds Windecker's motion is suitable for ruling without a hearing

because the material facts are not in dispute. In making this determination, the

Court reviewed footage from Columbus Police Department Officer Matthew
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